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            ORDERED in the Southern District of Florida on July 16, 2019.




                                                            Mindy A. Mora, Judge
                                                            United States Bankruptcy Court
_____________________________________________________________________________
                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                                                       CASE NO.: 16-15317-BKC-MAM
                                                                     PROCEEDING UNDER CHAPTER 13

   IN RE:

   DELFINO G RODRIGUEZ
   XXX-XX-5859

   _____________________________/
   DEBTOR

            ORDER GRANTING DEBTOR'S MOTION TO MODIFY THE CHAPTER 13 PLAN

      THIS CAUSE came before the Court on the July 12, 2019 Consent Calendar without opposition for
   confirmation of the Debtor's Twelfth Modified Chapter 13 Plan. Based upon the record, it is

      ORDERED:

      1. The Debtor's Twelfth Modified Chapter 13 Plan (the "Plan") modified complies with the provisions
         of 11 U.S.C. Section 1325 and is confirmed.

      2. Any claim entitled to priority under 11 U.S.C. Section 507 shall be paid in full, in periodic
         installments, in the order of priority prescribed by the Bankruptcy Code over the period of the Plan
         as required by 11 U.S.C. Section 1322(a)(2), with postpetition interest as required by 11 U.S.C.
         Section 506(b) payable on the secured portion of the claim.
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3. The Debtor's first monthly payment to the Trustee under the originally filed Plan was required to
   commence not later than 30 days following April 13, 2016, the date the petition was filed, or within
   30 days from the date of conversion to Chapter 13.

4. If the Modified Plan does not provide for payments to a secured creditor, such creditor is granted in
   rem stay relief to pursue available state court remedies against any property of the debtor which
   secures the creditor's claim.

5. Any executory contract or unexpired lease of the Debtor's which has not been assumed pursuant to
   court order prior to entry of this Order, or which is not assumed in the Plan confirmed by this Order,
   is deemed rejected upon entry of this order.

6. If the Modified Plan provides for payment to holder(s) of tax certificates on property of the Debtor,
   the following provisions shall apply:

       a. To ensure that the records of the County Tax Collector credit amounts received by certificate
          holders, upon receipt of information pursuant to subparagraph B below, the Tax Collector is
          ordered to adjust the County tax records and reduce both the amount owed on tax certificates
          and the amount of the tax lien to reflect payments made by the Chapter 13 Trustee to
          certificate holders under the confirmed plan.

       b. The Tax Collector shall be served with any order entered post-confirmation which (a)
          dismisses or converts this case; (b) grants stay relief to the holder of a secured claim on the
          property subject to the tax certificates; (c) approves a sale or refinancing of the property
          subject to the tax certificates; (d) modifies the plan to eliminate further payments to one or
          more certificate holders; or (e) discharges the debtor(s) upon completion of the plan. Upon
          receipt of any such order, the Tax Collector shall request a ledger from the Chapter 13
          Trustee reflecting the amounts paid to certificate holders under the confirmed plan, or obtain
          the ledger information by accessing the Chapter 13 Trustee's website.

       c. During the period in which the certificate holders are receiving payments under the
          confirmed plan, unless otherwise ordered, the Tax Collector is enjoined from accepting a
          redemption payment for any certificate which is included in the plan. This injunction will
          dissolve without further order of the court if (a) one of the orders described in subparagraph
          B is entered; and (b) the County has complied with the requirements in subparagraph A by
          reducing both the amount owed on any certificate paid or partially paid under the Plan and
          the amount of the tax lien by the amount paid to the certificate holder as reflected in the
          Chapter 13 Trustee's ledger.
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  7. If the Debtor fail to timely make any Plan payments to the Trustee, the Trustee may serve a "Notice
     of Delinquency" upon the Debtor and the Debtor's attorney. The Debtor shall have 45 days from the
     date of the "Notice of Delinquency" to make all payments due under the Modified Plan, including
     any payments that become due within the 45-day period. A Debtor seeking to cure the delinquency
     in a subsequent modified plan must file a motion to modify the confirmed plan within 15 days of the
     date of the "Notice of Delinquency." If the Debtor is not current with plan payments on the 45th day
     after the date of the "Notice of Delinquency," the Trustee may file and serve a report of
     non-compliance and the case will be dismissed without further notice or hearing. Dismissal shall be
     with prejudice to the Debtor's filing of any new bankruptcy case in any federal bankruptcy court in
     the United States for a period of 180 days from entry of the order of dismissal. The Court will not
     extend these deadlines absent extraordinary circumstances.


  8. To the extent the Modified Plan sought a determination of valuation pursuant to Bankruptcy Rule
     3012, and no objections were filed or any objections were resolved, the terms of the Modified Plan
     will be binding upon the affected secured creditors, and any allowed Proof of Claim will be secured
     only to the extent of the value as provided for in the Modified Plan and unsecured as to the balance
     of the claim.

                                                 ###

ORDER SUBMITTED BY:

ROBIN R. WEINER, ESQUIRE
STANDING CHAPTER 13 TRUSTEE
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ROBIN R. WEINER IS DIRECTED TO SERVE COPIES OF THIS ORDER UPON THE PARTIES
LISTED AND FILE A CERTIFICATE OF SERVICE.
